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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                                    CLERK’S MINUTES
                                     Motions Hearing

                            Case Number: 8:19-cv-1210-T-36SPF


JAMES FICKEN and SUNCOAST                          Plaintiff’s Counsel: Andrew H. Ward and
FIRST TRUST,                                       Ari Simon Bargil

                     Plaintiffs,

v.

CITY OF DUNEDIN, FLORIDA,                          Defense Counsel: Jay Daigneault and
DUNEDIN CODE ENFORCEMENT                           Randol D. Mora
BOARD, MICHAEL BOWMAN,
LOWELL SUPLICKI, ARLENE
GRAHAM, KEN CARSON, WILLIAM
MOTLEY, DAVE PAULEY and BUNNY
DUTTON,

       Defendants.

 Judge:     Charlene Edwards Honeywell         Court Reporter:   Sharon Miller


 Deputy     Bettye Samuel                      Interpreter:      N/A
 Clerk:
 Date:      November 16, 2020                  Time:             11:12 AM – 12:09 PM
                                               Total:            57 minutes

Court in session and counsel identified for the record. All parties appeared via Zoom video
conferencing.

The Court addressed counsel and heard argument on the following: Defendants’ Dispositive Motion
for Summary Judgment and Incorporated Memorandum of Law (Doc. 42) and Plaintiffs’
Dispositive Motion for Summary Judgment and Incorporated Memorandum of Law (Doc. 43).

Defendants’ Dispositive Motion for Summary Judgment and Incorporated Memorandum of Law
(Doc. 42) and Plaintiffs’ Dispositive Motion for Summary Judgment and Incorporated
Memorandum of Law (Doc. 43) are taken under advisement and the Court will issue a written
opinion.

Court adjourned.
